






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00004-CV






Laura Dow, Appellant


v.


New Century Mortgage Company, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. GN401975, HONORABLE SCOTT H. JENKINS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


		On January 3, 2007, Laura Dow's "Motion for Appeal" was filed in this Court.  In
it, Dow "petitions this court to grant appeal and a default judgement."  Dow claims that New Century
Mortgage Company filed a lawsuit against her on June 23, 2004, but withdrew its lawsuit on
August&nbsp;11, 2004.  Dow asserts that she never received notice of the nonsuit and filed a counterclaim
against New Century on January 20, 2005, seeking damages and to remove allegedly unconstitutional
liens on her property.  Dow alleges that New Century did not respond, so she moved for a default
judgment, but "was notified by the Travis County Clerk's Office that [she] had been dismissed from
the lawsuit by Plaintiff."  Dow asks this Court to "award [her] return of [her] property," remove any
liens against her property, and grant her a default judgment.

		On March 12, 2007, this Court sent the district clerk a letter notifying her that the
clerk's record in this case was overdue and requesting the clerk's record or an explanation about why
it could not be provided by March 22.  On April 9, 2007, the court clerk responded, writing,


Appellant's notice of appeal, filed July 3, 2006, makes no mention of any one
particular Order to be appealed.  In addition, no order on Defendant's motion for
default judgment, filed June 26, 2006, is on file in this court.  For this reason, a
clerk's record cannot be completed on this case.  Attached is a copy of this court's
docket sheet.



The docket sheet indicates that Dow's "Motion for Appeal" was filed in the trial court on
July&nbsp;3,&nbsp;2006.  We are unable to explain why six months elapsed between the filing of Dow's
"Motion for Appeal" in the trial court and its filing in this Court.  However, we need not resolve this
issue because Dow has not shown that there is any final order from the trial court that she
is&nbsp;entitled&nbsp;to&nbsp;appeal.

		On April 17, 2007, this Court sent a letter to Dow informing her that it does not
appear that a final judgment exists in her case and requesting that she demonstrate that a final
judgment exists by April 30, 2007, to prevent the dismissal of her case.  Dow has not responded.

		Appellate courts may only review final judgments or interlocutory orders specifically
made appealable by statute.  Lehmann v. Har-Con Corp., 39 S.W.3d 191, 195 (Tex. 2001); see
Tex.&nbsp;Civ. Prac. &amp; Rem. Code Ann. § 51.014 (West Supp. 2006) (listing appealable interlocutory
orders).  Because Dow has presented no appealable judgment or order, this Court lacks jurisdiction. 
Accordingly, we dismiss the appeal. 

							


							_____________________________________

							Diane Henson, Justice

Before Chief Justice Law, Justices Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   May 29, 2007


